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                       IN THE UNITED STATES DISTRICT COURT

                      FOR THE SOUTHERN DISTRICT OF GEORGIA

                                   AUGUSTA DIVISION

UNITED STATES OF AMERICA                     )
                                             )
       v.                                    )            CR 113-056
                                             )
SHONTA MERRIWEATHER                          )
                                         _________

                                         ORDER
                                         _________

       At the hearing held on April 11, 2017, the above-captioned defendant, voluntarily,

and with assistance of counsel, waived her right to a preliminary hearing on the petition filed

against her. Therefore, I find sufficient cause to have this matter scheduled before the

presiding District Judge for a final hearing on the petition for violation of conditions of

supervised release.

       In accordance with the Bail Reform Act, the Court conducted a detention hearing in

the above-captioned case, pursuant to 18 U.S.C. § 3142(f). Defendant failed to carry her

burden of establishing by clear and convincing evidence that she will not flee or pose a

danger to any other person or to the community.           See Fed. R. Crim. P. 32.1(a)(6).

Accordingly, Defendant is committed to the custody of the Attorney General or his

designated representative for confinement in a corrections facility separate, to the extent

practicable, from persons awaiting or serving sentences or being held in custody pending

appeal. Defendant shall be afforded a reasonable opportunity for private consultation with

defense counsel. On order of a court of the United States or on request of any attorney for

the Government, the person in charge of the corrections facility shall deliver Defendant to
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the United States Marshal for the purpose of an appearance in connection with a court

proceeding.

      SO ORDERED this 19th day of April, 2017, at Augusta, Georgia.
